Case 1:04-cv-01254-.]DT-STA Document 34 Filed 07/14/05 Page 1 of 3 Page|D 28

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESS]§E| L D BY

EASTERN DIVISION
JUL 1 4 2005
WILLIE CARNEY, Thg_"§§ g;§;w&$m
W. D. OF TN. JuCkson
Plaintiff,
VS. NO. 04-1253-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
RODNEY CLARK,
Plaintiff, //_, _, _\ __\

VS. 6 04-1254-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

 

Defendant.
FRED JONES,
Plaintiff,
VS. No. 04-1256-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

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REGINALD CHARLES,
Plainti ff,

VS. NO. 04-1255-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

ORDER OF REFERENCE
Defendant’s Motion for Protective Order is hereby referred to United States

Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:04-CV-01254 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

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Honorable J ames Todd
US DISTRICT COURT

